EXHIBIT A
 CERTIFICATION OF NAMED PLAINTIFF PURSUANT TO FEDERAL SECURITIES
                              LAWS

           I, Rajan Chahal, duly certify and say, as to the claims asserted under the federal
securities laws, that:

          1. I have reviewed the complaint and authorized its filing.

            2. I did not purchase the security that is the subject of this action at the direction of
plaintiff's counsel or in order to participate in this private action.

         3. I am willing to serve as a representative party on behalf of the class, including
providing testimony at deposition and trial, if necessary.

          4. My transaction(s) in CREDIT SUISSE GROUP AG (VelocityShares Daily Inverse
VIX Short Term Exchange Traded Notes) which are the subject of this litigation during the class
period set forth in the complaint are set forth in the chart attached hereto.

          5. Within the last 3 years, I have not sought to serve nor have I served as a class
representative in any federal securities fraud case.

           6. I will not accept any payment for serving as a representative party on behalf of the
class beyond the Plaintiff's pro rata share of any recovery, except as ordered or approved by the
court, including any award for reasonable costs and expenses (including lost wages) directly
relating to the representation of the class.

          I certify under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct. Executed this March 13, 2018.

 Name: Rajan chahal
Signed:
